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                          UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                               WESTERN DIVISION

CHARLESTON SHIPP,                         )
                                          )
            Plaintiff,                    )
                                          )
v.                                        )     No. 10-cv-02598-STA-dkv
                                          )
VISIONS SPORTS BAR & GRILL, INC.,         )
MIKE FURFIK,                              )
                                          )
            Defendants                    )
______________________________________________________________________________

                            ORDER ON DAMAGES
______________________________________________________________________________

       Before the Court is Plaintiff Charleston Shipp’s (“Plaintiff”) Second Motion for Default

Judgment Against the Defendants, Visions Sports Bar & Grill, Inc. (“Club Visions”) and Mike

Furfik or Murfik (collectively “Defendants”) (D.E. # 31), filed on May 13, 2011. On May 17,

2011, this Court granted the Motion for Default Judgment, but reserved ruling on the amount of

damages. (D.E. # 32.) The Court held an evidentiary hearing on June 20, 2011 to determine the

amount of Plaintiff’s damages. Plaintiff was the only witness at the evidentiary hearing.

Plaintiff testified to and presented the following1:

       On January 16, 2010, while a patron at Club Visions, Plaintiff, a twenty-two year old

male, received two stab wounds during an altercation–one wound to the right sternum and one to

the right upper quadrant. After sustaining the stab wounds, an employee of Club Visions

escorted the Plaintiff to the back, placed “salt” on Plaintiff’s wounds, gave Plaintiff water, and


       1
          During the hearing, Plaintiff submitted three exhibits: collective exhibit 1 containing
Plaintiff’s invoices for medical bills related to this matter; exhibit 2 containing a discharge
summary from Plaintiff’s stay at the Regional Medical Center at Memphis; and exhibit 3
containing a follow-up report from the Regional Medical Center at Memphis.
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called an ambulance. Plaintiff was taken by ambulance to the Regional Medical Center (“the

Med”) in Memphis, Tennessee. Plaintiff recalled that during this time he was experiencing

intense chest pains, he had blood pouring down his clothes, and he believed he “was going to

die.”

        Upon arriving at the Med, Plaintiff testified that doctors opened his chest and performed

heart surgery. Specifically, the Discharge Summary from the Med details that Plaintiff

underwent six procedures including an exploratory laparotomy, median sternotomy, subxiphoid

pericardial window, primary repair of right ventricle, the placement of two chest tubes, and the

placement of one mediastinal tube. Pain medications were administered throughout treatment.

        Plaintiff testified that he spent a week and a half at the Med. He testified that since his

release from the Med, he has received no other treatment for the physical injuries sustained

during the altercation.

        Plaintiff did testify, however, that he does have residual effects from the stabbing and the

subsequent medical procedures. Plaintiff stated that he has a permanent scar extending from his

neck to his navel. Additionally, he stated that he also has permanent scars from the two initial

stab wounds. Moreover, Plaintiff explained that he experiences keloids from time to time.

Plaintiff further testified that he continues to have sharp chest pains and problems breathing. For

example, Plaintiff testified that now he has a hard time playing basketball, holding his breath,

and running for long periods of time, all of which he could do before the stabbing.

        Plaintiff did receive counseling for nightmares and anxiousness subsequent to the

stabbing. Specifically, Plaintiff testified that he sought treatment from Dr. Lee Horton four to

five times between March 2010 and May 2010 for recurring nightmares about the stabbing and

for being anxious to go in public. Plaintiff testified that the counseling did help; however, he
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explained that he still has two to three nightmares a week. Moreover, Plaintiff stated that, to

date, he is still cautious about going into public places.

       Plaintiff estimates that the bills for the aforementioned treatment totals ninety thousand

dollars ($90,000). Additionally, Plaintiff testified that he incurred costs and expenses in the

form of cover charges, food, and drink at Club Visions in the amount of seven hundred and fifty

dollars ($750.00) for six or seven visits to the establishment.

       During the hearing, Plaintiff prayed for one million five hundred thousand dollars

($1,500,000) for the medical bills, the permanent scarring, the pain and suffering, and the

psychological injuries.

       Based upon the abovementioned evidence, the Court finds that Plaintiff has incurred the

following damages. Plaintiff has sustained ninety thousand dollars ($90,000) in damages for

medical expenses related to the medical care, services, and supplies reasonably required in the

treatment of Plaintiff. The Court further finds that Plaintiff shall be awarded ninety thousand

dollars ($90,000) for physical pain and mental discomfort suffered and likely to be suffered in

the future. Additionally, the Court finds the Plaintiff has sustained ninety thousand dollars

($90,000) in damages for disfigurement, the permanent scarring sustained during the stabbing

and subsequent medical treatment. The Court, however, finds the request for seven hundred and

fifty dollars ($750) related to cover charges, food, and drink for six or seven visits to Club

Visions to be inappropriate. Accordingly, the Clerk of Court shall enter a judgment in the

Plaintiff’s favor awarding $270,000 in damages against the Defendants.

       IT IS SO ORDERED.
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                                        s/ S. Thomas Anderson
                                        S. THOMAS ANDERSON
                                        UNITED STATES DISTRICT JUDGE

                                        Date July 29th, 2011.
